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UNITED STATES DISTRICT COURT
S()UTHERN DISTRICT OF NEW YORK

 

BRANDON SANDERS,
Plaintiff,
18-CV~10016 (ALC)
-against-
ORDER
MAKESPACE LABS, INC.,
Defendant.

 

ANDREW L. CARTER, JR., District Judge:
Pursuant to the Pre-Motion Conference held by the Court on January 31, 2019, the Parties

are hereby ()RDERED to Submit a Joint Status Report on or before February 21, 2019.

SO ORDERED.
Dated: January 31, 2019
New York, New York

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ANDREW L. CARTER, JR.
United States District Judge

 

